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                              EXHIBIT 3
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61872-AHS

   ALAN DERSHOWITZ,

          Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

         Defendant.
   ______________________________/

                         DECLARATION OF BRETT HARMAN
               IN SUPPORT OF CNN’S MOTION FOR SUMMARY JUDGMENT

          I, Brett Harman, declare as follows:

          1.      I am over the age of eighteen, am a resident of Atlanta, Georgia, and am competent

   to make this declaration. I have personal knowledge of the statements set forth below. I submit

   this declaration in support of the motion by defendant Cable News Network, Inc. (“CNN”) for

   summary judgment in this action (the “Motion”).

          2.      I am currently part of the streaming division for Warner Bros. Discovery and my

   title is Manager, Experience Programmer. In January 2020, I was a video programming producer

   for CNN.


          3.      On January 29, 2020, Alan Dershowitz, who was defending former President

   Donald Trump during his first impeachment trial, responded to a question posed by Senator Ted

   Cruz on the floor of the U.S. Senate (the “Response”). I was responsible for the cutting of a video

   clip that included Dershowitz’s Response that can be streamed on the CNN.com website (the

   “CNN.com Clip”). Based on a review of documents in this case, I understand that the CNN.com
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   Clip was placed at the top of certain articles on CNN.com, including an opinion piece by Paul

   Begala that is at issue in this lawsuit (the “Begala Column”).

          4.      The CNN.com Clip included a verbatim excerpt of footage of Dershowitz’s

   Response. At the time that CNN published the CNN.com Clip, I had no doubt that it was fair and

   accurate. I believe that to this day.

          5.      I did not work on the Begala Column in any capacity, nor was I involved in the

   placement of the CNN.com Clip on the webpage containing the Begala Column.

   My Background in Journalism

          6.      I have nearly a decade of video and journalism experience.

          7.      I graduated from the University of Alabama in 2008 with a B.A. in communication

   and information science. I then received an M.A. in media studies in 2010 from the University of

   Alabama.

          8.      I first began working for CNN as an intern in 2012 and became a video journalist

   in the image and sound department the following year. In 2014, I joined the video programming

   team as an associate producer and was promoted to producer in two years.

          9.      My work as a producer included producing and programming videos for CNN’s

   digital platforms, such as the CNN.com website and CNN app.

          10.     The videos that I produced for CNN.com could be published as standalone videos

   or placed at the top of articles to provide further information or background in a multimedia format.

   Generally, the staff responsible for the article would determine whether to include a video and

   selected the video, or a member of the video programming team selected the video. The videos

   could accompany opinion pieces, news articles, or other content on CNN.com or CNN’s other

   digital platforms.




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   The CNN.com Clip

           11.     On January 29, 2020, as part of my job responsibilities at CNN, I watched the

   impeachment proceedings that CNN was airing live from the U.S. Senate.                         One of my

   responsibilities was to identify and cut clips of newsworthy moments from the impeachment trial

   and other news events that CNN was airing. My team would collaborate on identifying and cutting

   clips in a Slack messaging channel called #video_programming.

           12.     At approximately 3:32 PM, one of the producers, Sara Anwar, sent to

   #video_programming a link to a Mediaite article about Dershowitz’s Response. Anwar asked if

   someone could assess whether his Response was a newsworthy moment. A production assistant,

   Maryam Mohamed, volunteered to do so. (A true and correct copy of this Slack message,

   CNN00000288, at ‘352, dated January 29, 2020, 3:32 PM ET / 8:32 PM UTC,1 is attached as

   Exhibit 55 to the Declaration of Katherine M. Bolger in support of the Motion (“Bolger

   Declaration”). All further references to “Exhibit __” in this declaration refer to the numbered

   exhibits attached to the Bolger Declaration.)

           13.     At approximately 3:40 PM, Mohamed stated that she thought it was a newsworthy

   moment, and Anwar asked Mohamed to try to “get” (i.e., cut) a clip of the moment.

           14.     Another producer, Daniel Lewis, noted that CNN anchor Jake Tapper was talking

   about Dershowitz’s Response live on air at that moment. He noted that Tapper said this was the

   most “striking” moment of the day. He suggested that Mohamed “butt” to Tapper’s analysis (i.e.,

   cut to Tapper’s analysis at the end of the clip of Dershowitz).

           15.     At that time, Tapper made the following statements on CNN, which included

   Tapper quoting a portion of Dershowitz’s Response (the quoted portion is italicized below):


   1
     I understand that in discovery Slack messages have been produced with timestamps in UTC format. For ease of
   reference, I include the timestamps in both ET and UTC format here.


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          . . . this is perhaps the most striking thing that has been said all day. Alan
          Dershowitz defending President Trump said, if the President does something which
          he believes will get him elected in the public interest, that cannot be the kind of quid
          pro quo that results in an impeachment. So in other words, if it’s being done for
          the, quote, unquote, public interest. And every single politician thinks everything
          they do . . . is in the public interest. And like of course, their re-election is in the
          public interest because they are great and their rivals are horrible, then that cannot
          be considered impeachable.
          And it’s a remarkable statement, and it set off a bunch of questions including what
          if Obama had done such a thing? And then there was a back and forth. But it’s
          really a remarkable assertion, and I’m sure that a lot of attorneys including
          conservative constitutional attorneys would take issue with it.
          The idea that as long as a President does something and he believes that that action
          is in the public interest and that includes his own re-election, then it’s completely
          kosher.

   (A true and correct copy of the video and transcript of this telecast is attached as Exhibit

   56 (at timestamp 38:21) and Exhibit 57 (at pages 3–4).)

          16.     Mohamed observed that the clip may be long, because Dershowitz’s Response

   lasted several minutes. Another producer, Rachael Scott, suggested that she use the following

   portion of Dershowitz’s Response:

          Everybody has mixed motives, and for there to be a constitutional impeachment
          based on mixed motives would permit almost any president to be impeached. How
          many presidents have made foreign policy decisions after checking with their
          political advisers and their pollsters?

          17.     At approximately 3:44 PM, a senior producer, Karol Brinkley, asked if Mohamed

   was butting to Tapper’s analysis. Mohamed confirmed that she was.

          18.     At approximately 4:03 PM, Mohamed asked for someone to “CE” (i.e., copy edit,

   or review) her clip. As a producer with seniority over Mohamed, I responded that I would.

          19.     At approximately 4:27 PM, Mohamed sent me a private Slack message asking if

   the Dershowitz video clip was okay or if it needed any modifications in Adobe Premier (our video

   editing software). (A true and correct copy of this Slack message, CNN00000391, dated January

   29, 2020, 4:27 PM ET / 9:27 PM UTC, is attached as Exhibit 58.)



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          20.     After watching Mohamed’s draft clip, I responded that we should change the clip.

   I instructed Mohamed to use the following portion of Dershowitz’s Response instead:

          Every public official that I know believes that his election is in the public interest.
          And mostly you’re right. Your election is in the public interest. And if a president
          did something that he believes will help him get elected, in the public interest, that
          cannot be the kind of quid pro quo that results in impeachment.

          21.     I explained that we should include this portion where Dershowitz discussed quid

   pro quos in the public interest. In my independent judgment, it was important to use this portion

   because this included the same portion that Tapper quoted in his analysis. That way, the viewer

   would see the original footage of Dershowitz and then see Tapper quoting and analyzing the same

   part. In addition, Tapper said this was the most “striking” statement of the day, which confirmed

   that this was the most newsworthy part. Further, the portion we ultimately used included three

   additional sentences, beyond what Tapper quoted, because I believed it was important to provide

   additional context from Dershowitz’s Response.

          22.     Mohamed followed my instructions and prepared the final CNN.com Clip.

          23.     At approximately 4:28 PM and 4:49 PM, in the #video_programming channel,

   Anwar and Brinkley asked Mohamed for updates on when the CNN.com Clip would be published.

   Brinkley stated that there was a high level of interest in that moment from Dershowitz’s argument.

          24.     At approximately 4:49 PM, Mohamed published the CNN.com Clip on the website.

   (A true and correct copy of the CNN.com Clip is attached as Exhibit 59.)

          25.     I understand that the CNN.com Clip was added to the Begala Column at the top of

   the piece later that evening.

          26.     I understand that in this lawsuit Dershowitz contends that the meaning of his

   Response is somehow changed by the following statement: “The only thing that would make a




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   quid pro quo unlawful is if the quo were in some way illegal.” In my editorial judgment, I did not

   understand that sentence to change the meaning of anything in his Response.

          27.     I understand that in this lawsuit Dershowitz contends that the CNN.com Clip was

   part of a coordinated “scheme” linked to other statements and clips at issue in this case. That

   contention is false. I had no contact with anyone responsible for those other statements and clips

   regarding the CNN.com Clip. The CNN.com Clip was the product of my independent judgment.

          28.     In sum, I believed then, and believe now, that the CNN.com Clip was fair and

   accurate.

   The YouTube Clip

          29.     I understand that in this lawsuit Dershowitz contends that a different, longer clip of

   his Response was played when Tapper and Blitzer discussed it on air that afternoon. That

   contention is incorrect. As explained above, Tapper verbally quoted Dershowitz’s Response, but

   no clip was played on air at that time.

          30.     It is possible that Dershowitz is confusing Tapper and Blitzer’s on-air segment with

   a YouTube video that contains a different edit of his Response butted to Tapper and Blitzer’s

   discussion. That YouTube video is available at: https://youtu.be/cRnP9xjYmIM.

          31.     Based on a review of documents in this case, I understand that Scott uploaded that

   video to YouTube and discussed it on Slack at approximately 7:31 PM that day. (A true and

   correct copy of this Slack message, CNN00001176, dated January 29, 2020, 7:31 PM ET / January

   30, 2020, 12:31 AM UTC, is attached as Exhibit 60.)




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         I declare under penalty of perjury that the foregoing is true and correct.



                October 11
   Executed on: _____________, 2022


                                                       Brett Harman




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